Case 5:22-cv-01910-SB-MRW Document 5 Filed 11/22/22 Page 1 of 2 Page ID #:17




                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA




 MEGAN REEVES,
        Plaintiff,                           Case No. 5:22-cv-01910-SB-MRW
                                             Case No. 5:22-cv-02021-SB-MRW
  v.
 CITY OF PALM SPRINGS et al.,                ORDER RE: PLAINTIFF’S
                                             APPLICATIONS TO PROCEED
        Defendant.                           WITHOUT PAYING FEES


 MEGAN REEVES,
        Plaintiff,
  v.
 RIVERSIDE COUNTY SHERIFF’S
 DEPARTMENT et al.,
        Defendants.



       Plaintiff Megan Reeves filed two cases against police and localities arising
from the death of her domestic partner. In both cases, she filed applications to
proceed without paying a filing fee. The applications are contradictory and the
Court would benefit from further information about Plaintiff’s finances in order to
rule on the applications. Plaintiff is hereby ordered to submit a supplemental
declaration clarifying:

   • The amount of income reflected on her 2021 tax return, as each application
     states a different amount; and

   • Whether she receives both disability payments, and in what amount, as well
     as unemployment benefits, and in what amount.


                                         1
Case 5:22-cv-01910-SB-MRW Document 5 Filed 11/22/22 Page 2 of 2 Page ID #:18




       Plaintiff shall file her supplemental declaration no later than December 7,
2022. Failure to so file may result in denial of the applications. If the Court grants
Plaintiff’s applications, it intends to consolidate these actions pursuant to Federal
Rule of Civil Procedure 42.

IT IS SO ORDERED.



Date: November 22, 2022                       ___________________________
                                                    Stanley Blumenfeld, Jr.
                                                  United States District Judge




                                          2
